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                                             January 26, 2022

  Clerk, United States District Court
  District of New Jersey
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street Room 2020
  Trenton, NJ 08608

  Clerk, United States District Court
  District of New Jersey
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street Room 4015
  Newark, NJ 07101
  ecfhelp@njd.uscourts.gov


                Re:         Occidental Chemical Corp. v. 21st Century Fox Am., Inc., et al.,
                            Civil Action No. 2:18-cv-11273-MCA

                Re:         In re Congoleum Corporation
                            Bankr. No. 03-51524

  Dear Sir/Madam:

        We represent Occidental Chemical Corporation (“Occidental”) with regard to these cases.
  Occidental filed a Notice of Appeal in In re Congoleum Corporation on January 24, 2022.

          Pursuant to Local Civ. Rule 40.1, Occidental notifies the Court that these two cases are
  “related,” and that the bankruptcy appeal “grows out of the same transaction as any case already
  pending in this Court,” i.e.., No. 2:18-cv-11273. The appeal is from an Order of the Bankruptcy
  Court granting in part the Motion of Bath Iron Works, Inc. (“BIW”) to re-open the bankruptcy
  case for the purpose of foreclosing Occidental’s claims against BIW, which is a defendant in No.
  2:18-cv-11273. BIW filed its Motion to Reopen after Occidental filed a Motion for Summary
  Judgment in No. 2:18-cv-11273, and both cases involve BIW’s liability to Occidental.




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  January 26, 2022
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         Occidental respectfully requests that the Clerk assign the appeal of Bankr. No. 03-51524
  to Judge Madeline Arleo, who presides over No. 2:18-cv-11273.

                                              Sincerely,
                                              Langsam Stevens Silver & Hollaender LLP




                                              Larry Silver

  cc (via ECF): Hon. Madeline C. Arleo
                Hon. Leda Dunn Wettre
                Thomas P. Scrivo, Esq.
                Counsel of record




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